                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               EASTERN DIVISION

IVA JOY AND WILLIAM JOY,                      )
                                              )
       Plaintiffs                             )
                                              )
                                                         No. 1:20-CV-01131-STA-jay
vs.                                           )
                                                         JURY DEMAND
                                              )
AMGUARD INSURANCE COMPANY,                    )
                                              )
       Defendant/Third-Party Plaintiff        )
                                              )
vs.                                           )
                                              )
ANTHONY LANCASTER                             )
INSURANCE                                     )
AGENCY, INC. and                              )
ANTHONY LANCASTER,                            )
                                              )
       Third-Party Defendants.




        MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR PARTIAL
                     SUMMARY JUDGMENT

       I.       INTRODUCTION

       This civil action arises out of total fire loss that occurred on May 5, 2020.

Plaintiff moves the Court for a partial summary judgment on liability so the jury will only

have to determine compensatory damages, statutory bad-faith damages, pre-judgment

interest, and punitive damages for breach of contract, if any.

       II.     FACTS

       The facts are set forth in the Statement of Undisputed Material Facts and will not

be repeated herein for the sake of brevity.

       III. ANALYSIS


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          1. Summary Judgment Standard

          In Maben v. Thelan., 887 F.3d 252, 263 (6th Cir. 2018), the Sixth Circuit

held a district court must grant summary judgment only if the moving party satisfies its

burden to show that there are no genuine issues of material fact 1 and the moving party is

entitled to judgment as a matter of law.         In Tolan v. Cotton, 134 S.Ct. 1861, 1865-68

(2014), the Court held at the summary judgment stage, all evidence is reviewed in the

light most favorable to the non-movant and all factual inferences are drawn in favor of

the non-moving party. In Hughes v. Gulf Interstate Field Services, 878 F.3d 183, 187 (6th

Cir. 2017), the Sixth Circuit applied the same standard in reviewing summary judgment

evidence. All reasonable inferences are drawn in favor of the non-moving party. Byrd v.

Tenn. Wine & Spirits Retailers Ass’n, 883 F.3d 608, 617 (6th Cir. 2018)

          A court misapprehends summary judgment standards when it attempts to credit or

weigh testimony or other evidence in favor of the movant.            Tolan, 1867-68; Hastings v.

Fayette County Schools, 320 F.Supp. 3d. 966, 974 (W.D. Tenn. 2018).                      Weighing

evidence and credibility determinations are jury functions. Nance v. Crockett County,

Tennessee, 150 F.Supp. 3d 881, 882 (W.D. Tenn. 2015).               A genuine issue of material

fact exists if a jury could return a verdict for the non-moving party.          Richmond v. Huq,

885 F.3d 928, 937 (6th Cir. 2018); Peffee v. Stephens, 880 F.3d 256, 262 (6th Cir. 2015).

The movant is only entitled to a grant of summary judgment if he, she, or it can show

that there are no issues of material fact and he, she or it is entitled to judgment as a matter

of law.     Tolan, 1865-1866.




1
 A fact is material where proof of the fact would establish or refute an essential element of the
claim or defense. Kendall v. Hoover, 751 F.2d 171, 174 (6th Cir. 1984).


                                                 2
       2.                Tennessee2 Statutory Construction Principles

         Clear and unambiguous statutes will be enforced according to their plain terms.

Lind v. Beaman Dodge, Inc., 356 S.W.3d 889, 895 (Tenn. 2011). Every word of the

statute will be given effect. Id. New statutory provisions that do not repeal or over-rule

pre-existing law by express terms or implication are cumulative. Johnson v. Hopkins,

432 S.W.3d 840, 848 (Tenn. 2013).       The Courts presume that the Legislature knew the

law when it enacted statutory provisions.    Sneed v. City of Red Bank, Tennessee, 459

S.W.3d 17, 23 (Tenn. 2014). Statutes involving the same subject matter or in pari

materia are construed together. Graham v. Caples, 325 S.W.3d 578, 582 (Tenn. 2010).

Specific statutes control over general statutes. Id. at 582.   Judicial constructions of

statutes become part of the statute. Blank v. Olsen, 662 S.W.2d 324, 326 (Tenn. 1983);

Hill v. City of Germantown, 31 S.W.3d 234, 239-240 (Tenn. 2000).

       3.              Insurance Contract Construction Principles

       Insurance policies are construed in the same manner as any other contract3. The

policy incorporates the existing4 law on the date of issuance or renewal.     Existing law

includes statutes, regulations, and caselaw5. In the event of any conflicting provision

between a statute and a policy provision, the terms of the statute control6. Knowledge,




2
  The Sixth Circuit follows the Tennessee Supreme Court’s jurisprudence in construing Tennessee
statutes. Jones v. City of Franklin, 677 Fed. Appx. 279, 286 (6th Cir. 2017)
3
  US Bank v. Tennessee Farmer’s Mutual Ins. Co., 277 S.W.3d 381, 386 (Tenn. 2009)
4
  Dick Broadcasting Co. Inc., of Tennessee v. Oak Ridge FM, Inc., 395 S.W.3d 653, 668 (Tenn.
2013). The law of the forum is controlling regarding to remedial and procedural issues. Sherwin
Williams v. Morris, 156 S.W.3d 350, 352 (Tenn. Ct. App. 1941); In re Stalup’s Cup Estate, 627
S.W.2d 364, 368 (Tenn. Ct. App. 1981)
5
  Dick Broadcasting Co., Inc., at 668.
6
  US Bank, 390-391.


                                              3
acts, or representation of an insurer’s agent operate to waive policy provisions in

question7. Tenn. Code Ann. § 56-6-115(b) renders all agents agents of the insurer8.

          4.   Application

          Application of the foregoing principles militates that Lancaster’s knowledge that

that the Joy’s did not have a sprinkler system was imputed to Amguard and it waived this

policy provision when it issued the policy. This conclusion is strengthened by the fact

that Amguard own internal policy was to issue the policy and to adjust the premium if it

did not receive proof the sprinkler system within 30 days.

          IV. CONCLUSION

          The Court should grant the Plaintiff’s Motion for Partial Summary Judgment in

favor of liability. This will reduce the issues for trial to damages, statutory bad-faith

damages, prejudment interest, and punitive damages.

                                                Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

          The undersigned hereby certifies a copy of the foregoing has been served upon

counsel for the defendants in the U.S. Mail, first class postage paid, or e-mail and

properly addressed or hand-delivery to:


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    Gaston v. Tennessee Farmer’s Mutual Ins. Co., 120 S.W.3d 815, 820 (Tenn. 2003)
8
    AllState Ins. Co. v. Tarrant, 363 S.W.3d 508, 517-520 (Tenn. 2012)



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This the 16th day of August 2021.
                                                 /S/ DRAYTON D. BERKLEY
                                                  DRAYTON D. BERKLEY




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